                                        NO. 12-24-00077-CR

                              IN THE COURT OF APPEALS

                 TWELFTH COURT OF APPEALS DISTRICT

                                           TYLER, TEXAS

TERRY TYRONE HAYTER JR.,                                 §        APPEAL FROM THE 217TH
APPELLANT

V.                                                       §        JUDICIAL DISTRICT COURT

THE STATE OF TEXAS,
APPELLEE                                                 §        ANGELINA COUNTY, TEXAS

                                       MEMORANDUM OPINION
                                           PER CURIAM

        Terry Tyrone Hayter, Jr. appeals his conviction for indecency with a child by exposure.
Appellant’s counsel filed a brief in compliance with Anders v. California, 386 U.S. 738, 87 S.
Ct. 1396, 18 L. Ed. 2d 493 (1967), and Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App.
1969). We affirm.
                                                 BACKGROUND
        Appellant was indicted for indecency with a child by exposure. The indictment further
alleged that Appellant had a prior felony conviction for possession of a controlled substance. 1
Appellant pleaded “guilty” to the offense and “true” to the enhancement paragraph. The matter




         1
           See TEX. PENAL CODE ANN. §§ 21.11(a)(2), (d) (West 2019) (defining indecency with a child by exposure
and classifying it as third degree felony); 12.42(a) (West 2019) (prior felony conviction increases punishment range
from third degree felony to second degree felony); 12.33(a) (West 2019) (defining second degree felony punishment
range as no more than 20 years but no less than 2 years).
then proceeded to a bench trial on punishment. The trial court ultimately sentenced Appellant to
twenty years imprisonment. This appeal followed.


                            ANALYSIS PURSUANT TO ANDERS V. CALIFORNIA
        Appellant’s counsel filed a brief in compliance with Anders v. California and Gainous v.
State. Appellant’s counsel states that he diligently reviewed the appellate record and is of the
opinion that the record reflects no reversible error and that there is no error upon which an appeal
can be predicated. He further relates that he is well acquainted with the facts in this case. In
compliance with Anders, Gainous, and High v. State, 573 S.W.2d 807 (Tex. Crim. App. [Panel
Op.] 1978), Appellant’s brief presents a chronological summation of the procedural history of the
case and further states that Appellant’s counsel is unable to raise any arguable issues for appeal.2
We likewise reviewed the record for reversible error and have found none.


                                                 CONCLUSION
        As required by Stafford v. State, 813 S.W.2d 503 (Tex. Crim. App. 1991), Appellant’s
counsel moved for leave to withdraw. See also In re Schulman, 252 S.W.3d 403, 407 (Tex.
Crim. App. 2008) (orig. proceeding). We carried the motion for consideration with the merits.
Having done so and finding no reversible error, Appellant’s counsel’s motion for leave to
withdraw is hereby granted and the trial court’s judgment is affirmed.
        As a result of our disposition of this case, Appellant’s counsel has a duty to, within five
days of the date of this opinion, send a copy of the opinion and judgment to Appellant and advise
him of his right to file a petition for discretionary review. See TEX. R. APP. P. 48.4; In re
Schulman, 252 S.W.3d at 411 n.35. Should Appellant wish to seek review of this case by the
Texas Court of Criminal Appeals, he must either retain an attorney to file a petition for
discretionary review on his behalf or he must file a petition for discretionary review pro se. Any
petition for discretionary review must be filed within thirty days from the date of either this
opinion or the date that the last timely motion for rehearing was overruled by this Court. See
TEX. R. APP. P. 68.2. Any petition for discretionary review must be filed with the Texas Court of

         2
           In compliance with Kelly v. State, Appellant’s counsel provided Appellant with a copy of the brief,
notified Appellant of his motion to withdraw as counsel, informed Appellant of his right to file a pro se response,
and took concrete measures to facilitate Appellant’s review of the appellate record. See Kelly v. State, 436 S.W.3d
313, 319 (Tex. Crim. App. 2014). Appellant was given time to file his own brief. The time for filing such a brief
has expired, and no pro se brief has been filed.


                                                        2
Criminal Appeals. See TEX. R. APP. P. 68.3(a). Any petition for discretionary review should
comply with the requirements of Texas Rule of Appellate Procedure 68.4. See In re Schulman,
252 S.W.3d at 408 n.22.




Opinion delivered August 21, 2024.
Panel consisted of Worthen, C.J., Hoyle, J., and Neeley, J.




                                             (DO NOT PUBLISH)




                                                          3
                                   COURT OF APPEALS

      TWELFTH COURT OF APPEALS DISTRICT OF TEXAS

                                           JUDGMENT

                                           AUGUST 21, 2024


                                         NO. 12-24-00077-CR


                                 TERRY TYRONE HAYTER JR.,
                                          Appellant
                                             V.
                                    THE STATE OF TEXAS,
                                          Appellee


                                Appeal from the 217th District Court
                        of Angelina County, Texas (Tr.Ct.No. 2023-0216)

                       THIS CAUSE came to be heard on the appellate record and briefs filed
herein, and the same being considered, it is the opinion of this court that there was no error in the
judgment.
                       It is therefore ORDERED, ADJUDGED, and DECREED that the
judgment of the court below be in all things affirmed, and that this decision be certified to the
court below for observance.

                    By per curiam opinion.
                    Panel consisted of Worthen, C.J., Hoyle, J. and Neeley, J.
